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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA
______________________________________
                                        :
Tracey Baum,                            :
                                        : Civil Action No.: 2:18-cv-00777-MJH-LPL
                                        :
                  Plaintiff,            :
       v.                               :
                                        :                                                             (
ADT LLC d/b/a ADT Security Systems; and :
Defenders, Inc.,                        :                                                             (
                                        :                                                             D
                  Defendant.            :                                                             R
______________________________________ :                                                              H
                               STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the above-

captioned action is hereby dismissed in its entirety with prejudice and without costs to any party.


 ___/s/ Jody B. Burton__________                _/s/ Julian E. Neiser________
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                                               Defenders, Inc.
_____________________________
SO ORDERED
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                              CERTIFICATE OF SERVICE

        I hereby certify that on April 30, 2019, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the Western
District of Pennsylvania Electronic Document Filing System (ECF) and that the document is
available on the ECF system.
                                           By_/s/ Jody B. Burton_________
                                                Jody B. Burton
